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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Dan T Evans,                                             Case No. 1:18-cv-05344

                    Plaintiff,

         v.                                              Judge:       Hon. John Blakey

Nationstar Mortgage, LLC, et al.,                        Magistrate: Hon. Maria Valdez

                    Defendant.


 UNOPPOSED MOTION FOR ATTORNEY PATRICK D. JOYCE TO WITHDRAW AS
            ASSIGNED SETTLEMENT ASSISTANCE COUNSEL

         Attorney Patrick D. Joyce hereby moves to withdraw as counsel of record for Plaintiff Dan T.

Evans because he has completed his assignment as settlement assistance counsel pursuant to Docket # 122.

Pursuant to this Court’s procedures, Mr. Joyce met and conferred with Defendant’s counsel, Caleb Halberg,

on September 20, 2023. Mr. Halberg indicated that Defendant would not oppose this motion. Because Mr.

Joyce’s withdrawal will leave Plaintiff without representation, the required “Notification of Party Contact

Information” is attached as Exhibit A.

         WHEREFORE, Mr. Joyce respectfully requests that the Court grant him leave to withdraw as

assigned settlement counsel.

                                                      Respectfully submitted,
DATED: September 20, 2023                             Dan T Evans

                                                      By: /s/ Patrick D. Joyce

                                                           His Limited Attorney
Patrick D. Joyce, Bar No. 6309361
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                                    CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that he caused a copy of the above UNOPPOSED

MOTION FOR ATTORNEY PATRICK D. JOYCE TO WITHDRAW AS ASSIGNED SETTLEMENT ASSISTANCE

COUNSEL to be served upon the following counsel of record via ECF transmission, this 20th day of

September, 2023.

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  Attorneys for Nationstar Mortgage




                                                                /s/ Patrick D. Joyce_________
                                                                     Patrick D. Joyce




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